                               UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


      RON WASHINGTON,

            Plaintiff,                               Case No. 3:19-cv-00097

      v.                                             Chief Judge Waverly D. Crenshaw, Jr.
                                                     Magistrate Judge Alistair E. Newbern
      RIVERVIEW HOTEL, INC.,

            Defendant.


                                      MEMORANDUM ORDER

            Pro se Plaintiff Ron Washington has filed a motion to ascertain the status (Doc. No. 124)

  of six motions currently pending in this case: (1) Washington’s motion to compel mediation (Doc.

  No. 91); (2) Washington’s motion requesting a status conference (Doc. No. 92); (3) Washington’s

  amended motion for summary judgment (Doc. No. 100); (4) Washington’s motion to strike

  Defendant Riverview Hotel, Inc.’s proposed evidence and responses to Washington’s statement of

  undisputed material facts (Doc. No. 117); (5) Riverview’s motion for summary judgment (Doc.

 No. 99); and (6) Washington’s motion to strike declarations by Riverview employees Leslie

 Capps, Ruby Magana, and Qaina Watson (Doc. No. 122). Washington’s motion to ascertain status

  (Doc. No. 124) is GRANTED. The status of the case is as follows.

I.          Washington’s Motion to Compel Mediation

            On August 11, 2020, Washington filed a motion to compel mediation. 1 (Doc. No. 91.)

  Riverview responded on August 20, 2020, and argued that, considering the parties’ previously



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            Washington erroneously moved to compel mediation under Tennessee Supreme Court
     Rule 31. (Doc. No. 91.) Because this case is currently proceeding in federal district court,
     mediation procedures are governed by Local Rules 16.02 through 16.05. M.D. Tenn. R. 16.02-


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      unsuccessful attempts at resolution, “a compelled mediation will be a costly and futile exercise.”

      (Doc. No. 94, PageID# 1247.) On August 21, 2020, Washington filed a motion for leave to file a

      surreply (Doc. No. 95) and a proposed surreply (Doc. No. 95-1), which the Court construed as

      Washington’s reply (Doc. No. 96) and which was docketed as such (Doc. Nos. 97, 98).

      Washington asserts that past attempts at mediation were unsuccessful because they occurred “in

      the ‘initial phase’ of this case before all evidence of this case was established and discovery was

      completed[,]” and because Washington believes that Riverview’s previous settlement offers were

      not realistic or made in good faith. (Doc. No. 98, PageID# 1266.) Washington argues that a court-

      ordered mediation with a neutral, third-party mediator will have a greater likelihood of success

      than the parties’ previous settlement negotiations. (Doc. No. 98.)

             The Court strongly encourages the parties to engage in alternative dispute resolution and

   to consider mediation. However, Washington’s motion to compel mediation (Doc. No. 91) will be

   denied without prejudice to refiling at this time.

II.          Washington’s Motion Requesting a Status Conference

             On the same day that he moved to compel mediation, Washington filed a motion requesting

   “a status conference to prepare to retain an attorney . . . so he can effectively prepare for trial as

   scheduled.” (Doc. No. 92, PageID# 1235.) Washington states that Riverview’s “counsel does not

   object to the [requested] status conference” (id. at PageID# 1234), and Riverview has not filed a

      response in opposition. Because the Court has granted Washington’s subsequently filed motion to

      ascertain status, and because this Order addresses the status of all pending motions in

      Washington’s case, the Court finds that a status conference is not necessary. Washington’s motion



  16.05. Washington is advised to review the Federal Rules of Civil Procedure and this Court’s Local
  Rules before filing any future motions in this case.



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       for a status conference (Doc. No. 92) will be denied. Washington may seek representation

       independently and counsel may enter an appearance on his behalf at any time.

III.          Washington’s Amended Motion for Summary Judgment and Motion to Strike
              Riverview’s Proposed Evidence and Responses to Washington’s Statement of
              Undisputed Material Facts

              Washington filed an amended motion for summary judgment 2 on August 27, 2020 (Doc.

       No. 100). On August 28, 2020, Washington filed a supporting memorandum (Doc. No. 101),

       evidentiary exhibits (Doc. Nos. 101-1–101-8), and a statement of undisputed material facts (Doc

       No. 103). On September 24, 2020, Riverview filed a response in opposition (Doc. No. 109) and a

       response to Washington’s statement of undisputed material facts (Doc. No. 110) with

       accompanying evidentiary exhibits (Doc. Nos. 110-1–110-3). On October 7, 2020, Washington

       filed a reply (Doc. No. 119) and a separate reply to Riverview’s response to the statement of

       undisputed material facts. (Doc. No. 120).

              On October 2, 2020, Washington filed a motion to strike the proposed evidence that

       Riverview cited in support of its responses to Washington’s statement of undisputed material facts

       (Doc. No. 117). On October 13, 2020, Riverview filed a response in opposition. (Doc. No. 121.)

       Washington filed a reply on October 14, 2020. (Doc. No. 123.) Washington’s motion to strike

       proposed evidence (Doc No. 117) will be considered in conjunction with the related amended

       motion for summary judgment (Doc. No. 100). Both motions are fully briefed and will be

       addressed at the Court’s earliest opportunity.


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            On August 18, 2020, the Court administratively terminated Washington’s first motion for
   summary judgment and accompanying filings, finding that they did not comply with the Local
   Rules governing summary judgment procedures. (Doc. No. 93.) The Court ordered Washington
   “to file an amended motion for summary judgment, along with all relevant supporting exhibits and
   one comprehensive statement of undisputed material facts, by August 30, 2020.” (Id. at
   PageID# 1244–45.) Washington’s amended motion for summary judgment (Doc. No. 100) was
   filed in response to that order.



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IV.       Riverview’s Motion for Summary Judgment and Washington’s Motion to Strike
          Declarations by Leslie Capps, Ruby Magana, and Qaina Watson

          On August 28, 2020, Riverview filed a motion for summary judgment (Doc. No. 99),

   supporting memorandum (Doc. No. 99-1), statement of undisputed material facts (Doc. No. 99-2),

  and accompanying evidentiary exhibits (Doc. Nos. 99-3–99-5). On September 24, 2020,

  Washington filed a response in opposition (Doc. Nos. 113, 114), supporting evidentiary exhibits

  (Doc. No. 114-1), and responses to Riverview’s statement of undisputed material facts (Doc.

  No. 115). On October 8, 2020, Riverview submitted a reply (Doc. No. 118), and a separate reply

  to Washington’s response to Riverview’s statement of undisputed material facts (Doc. No. 118-1).

          On October 14, 2020, Washington filed a motion to strike (Doc. No. 122) declarations by

  Riverview employees Leslie Capps, Ruby Magana, and Qaina Watson (Doc. Nos. 34-1–34-3),

  which Riverview cited in support of its motion for summary judgment (Doc. Nos. 99–99-2). On

  October 19, 2020, Riverview filed a response in opposition, which it served on Washington by e-

  mail and U.S. mail. (Doc. No. 125). Under Local Rule 7.01(a)(4) and Federal Rule of Civil

  Procedure 6(d), Washington has until October 29, 2020, to file an optional reply memorandum,

  not to exceed five pages. See M.D. Tenn. R. 7.01(a)(4) (reply) (“An optional reply memorandum

  may be filed within seven (7) days after service of the response, and shall not exceed five (5) pages

  without leave of Court.”); Fed. R. Civ. P. 6(d) (“When a party may or must act within a specified

  time after being served and service is made under Rule 5(b)(2)(C) (mail) . . . or (F) (other means

  consented to), 3 days are added after the period would otherwise expire under Rule 6(a).”). After

  Washington’s motion to strike (Doc. No. 122) is fully briefed, the Court will consider it in

  conjunction with Riverview’s motion for summary judgment (Doc. No. 99).




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V.          Conclusion

            For these reasons, Washington’s motion to compel mediation (Doc. No. 91) is DENIED

 WITHOUT PREJUDICE to refiling if case developments make it appropriate to do so.

 Washington’s motion requesting a status conference (Doc. No. 92) is DENIED. The remaining

     motions discussed in this Order (Doc. Nos. 99, 100, 117, 122) will be decided at the earliest

     opportunity that the Court’s crowded civil docket allows.

            It is so ORDERED.



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                                                         ALISTAIR E. NEWBERN
                                                         United States Magistrate Judge




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